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                                                                                        December 20, 2017
Via ECF

Honorable Allyne R. Ross
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                    Re: United States v. Vincent Asaro
                                          17 Cr. 00127 (ARR)
Dear Judge Ross:

      This letter is written to supplement my letter of December 19, 2017 with regard to Mr. Asaro’s
medical condition and to seek emergency bail so that he can get proper medical treatment.

        As stated in my letter yesterday, Mr. Asaro had cardiac surgery on or about October 31, 2017. After
only a few short hours in the Intensive Care Unit he was transported back to the MDC and placed in the
SHU with no medical treatment. Despite the fact that his blood pressure consistently tested dangerously
high, he was not seen by a doctor after his surgery until counsel intervened. This is true despite the fact
that Mr. Asaro consistently advised the staff at the MDC that he was not feeling well. Over the course of
the weekend Mr. Asaro was taken to the hospital and his regimen of medications was altered to address his
high blood pressure and he was returned to the MDC on Sunday night.

        Yesterday I witnessed just how sick Mr. Asaro is. While on a legal visit Mr. Asaro was incoherent
and unable to leave the visiting room on his own power. I have been advised that Mr. Asaro was taken to
the hospital yesterday after my visit. While there, his medications were once again adjusted. This time his
blood pressure was dangerously low. Apparently, his medications were improperly adjusted over the course
of the weekend thus causing his blood pressure to go from dangerously high to dangerously low. He was
then sent back to the MDC without further observation.

      This was Mr. Asaro’s fifth trip to the hospital since his incarceration on March of 2017. While the
government advances that the Bureau of Prisons is capable of taking care of him that is clearly not the case.

       On May 18, 2017, Your Honor denied a bail application made on Mr. Asaro’s behalf. Since that
time two major circumstances have changed. First, the government has advised the Court that is unable to
prove any allegation that Mr. Asaro threatened to kill a prosecutor. At the previous bail hearing the
government vehemently argued this allegation was a basis for detention and Your Honor relied on the
government’s representation.1 Second, Mr. Asaro’s health has clearly taken a dramatic turn for the worse

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 At bail arguments in attempt to secure Mr. Asaro’s pre-trial detention, the government stated, “The
defendant made multiple, specific, serious threats regarding a prosecutor. He told one of his co-
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and the MDC is incapable of caring for him. His cardiac situation is so severe it is remarkable that he has
survived this long given the care he has received.

         Once the Court has issued a detention order, as it has regarding this defendant, it may reconsider
that order and reopen the detention hearing “if the judicial officer finds that information exists that was not
known to the movant at the time of the hearing and that has a material bearing on the issue whether there
are conditions of release that will reasonably assure the appearance of such person as required and the safety
of any other person and the community.” 18 U.S.C. § 3142(f)(2). Here, the government’s concession that
the allegations that Mr. Asaro threatened to kill the prosecutor were not credible constitutes a change in
circumstances as the Court, in part, relied on these allegations to find that Mr. Asaro was willing and able
to “call on the services of younger and able Bonanno members to do his bidding” and “demonstrates
defendant’s ongoing affiliation with the Bonanno family and his penchant to call on Bonanno associates to
execute violent crime.” May 18, 2017 Tr. at 14-15. This alone constitutes a sufficient change in
circumstance to justify reopening the detention hearing. However, in addition, Mr. Asaro’s health has taken
a stark turn for the worse and the sub-par care he receives constitutes further grounds to reopen the hearing.
United States v Thavaraja, 2009 U.S. App. LEXIS 5730, at *2 [2d Cir Mar. 18, 2009, No. 08-3589-cr]
(defendant must renew application for bail before District Court based on deteriorating health as a factor
weighing in favor of release); United States v. Montemarano, 1986 US Dist LEXIS 25897, at *7 [SDNY
May 5, 1986, No. S 84 Cr. 809 (JFK)] (defendant’s failing health considered in granting pre-trial release).

        For all of these reasons we ask that emergency bail be set in this case so that Mr. Asaro can receive
proper medical care. The Asaro family is prepared to secure a significant bond and Mr. Asaro will submit
to any condition of release the Court seems appropriate.

                                                      Respectfully submitted,

                                                      Elizabeth E. Macedonio
                                                      Elizabeth E. Macedonio and Carla Sanderson
                                                      Counsel for the Defendant
                                                      Vincent Asaro
cc:    All Counsel – Via ECF




defendants, another Bonanno associate, that he didn’t just say, oh she’s a bad person, oh, she treated me
unfairly… he said quote ‘we need to do something and we need to handle this.’ Those are, in Mr. Asaro’s
world and in the criminal world, those are specific words with a specific meaning and it is of the utmost
serious nature. It’s murder.” May 18, 2017 Tr. at 6-7.
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